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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                     Plaintiff,
                     v.                                      11-CR-151-A

EFRAIN HIDALGO,

                Defendant.
_____________________________________

                                        ORDER

TO:     Charles Dunne, United States Marshal, Eastern District of New York,
        or his Deputies

              YOU ARE HEREBY ORDERED to produce defendant EFRAIN HIDALGO,

now detained at the Federal Bureau of Prisons, Metropolitan Detention Center,

Brooklyn, New York, to the United States Courthouse, 225 Cadman Plaza East, Room

402, Brooklyn, New York 11201, on the 17th day of July, 2013 at 10:00 a.m. in the

forenoon of said day, so that he may participate in oral argument via video-conference

in the matter of United States v. Efrain Hidalgo, et al; Case No. 11-CR-151-A, before

the Honorable H. Kenneth Schroeder, Jr., United States Magistrate Judge, Western

District of New York. Thereafter, defendant Efrain Hidalgo is to be returned to the

Federal Bureau of Prisons, Metropolitan Detention Center, Brooklyn, New York until

termination of federal proceedings, or as directed by the Court. SO ORDERED.

DATED:        Buffalo, New York
              July 15, 2013


                                         s/ H. Kenneth Schroeder, Jr.
                                         H. KENNETH SCHROEDER, JR.
                                         United States Magistrate Judge
